         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA
                                MINNEAPOLIS DIVISION


ELIZABETH JAMESON,                               §
                                                 §
       PLAINTIFF,                                §        CIVIL ACTION NO. _ 0:21-cv-2410__
                                                 §
VS.                                              §
                                                 §    JURY DEMANDED
TORAX MEDICAL, INC., AND                         §
ETHICON, INC.                                    §
                                                 §
       DEFENDANTS.                               §


                            PLAINTIFF’S ORIGINAL COMPLAINT



       Plaintiff Elizabeth Jameson files this, her Original Complaint, against Defendants Torax

Medical, Inc. and Ethicon Inc., and respectfully states follows:

                                                 I.

                                PRELIMINARY STATEMENT

       Defendant’s Torax Medical, Inc. and Ethicon, Inc. manufactured a defective medical

device such that Plaintiff suffered significant injury. Here, a defectively manufactured LINX was

surgically implanted in Plaintiff to control her gastroesophageal reflux disease (GERD). After the

LINX was implanted in Plaintiff, Defendants became aware of the manufacturing defect in

Plaintiff’s LINX. Defendants recalled Plaintiff’s LINX as well as numerous other LINX devices

in the United States and European Union. Moreover, Defendants admit that Plaintiff’s LINX was

defectively manufactured.




PLAINTIFF’S ORIGINAL COMPLAINT                                                      PAGE 1 OF 16
         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 2 of 16




        Here, Plaintiff seeks to vindicate her rights at law for having to experience a severe

recurrence of her GERD symptoms and undergo another invasive surgery to remove the defective

LINX.


                                                 II.

                                             PARTIES

        1.     Plaintiff Elizabeth Jameson is a resident of the State of Florida.

        2.     Defendant Torax Medical, Inc. (Torax) is a Delaware corporation with its

headquarters and principal place of business in Shoreview, Minnesota. Torax may be served with

process through its registered agent, The Corporation Trust Company at 1209 Orange St.,

Wilmington, Delaware 19801, or wherever it may be found. While headquartered in Minnesota,

Torax’s medical devices, including the LINX, are distributed, marketed, sold, and used on medical

patients in all fifty United States, including Minnesota, and the European Union. Therefore, Torax

is subject to personal jurisdiction in the State of Minnesota.

        3.     Ethicon, Inc. (Ethicon) is a New Jersey corporation with its headquarters and

principal place of business in the State of New Jersey. Ethicon may be served with process through

its registered agent Johnson & Johnson, at One Johnson & Johnson Plaza, New Brunswick, New

Jersey 08933-0000, or its president Nefertiti Green, at Johnson & Johnson, Rt. 22 West,

Somerville, New Jersey 08876, or wherever she may be found. While headquartered in New

Jersey, Ethicon’s medical devices, including the LINX, are distributed, marketed, sold, and used

on medical patients in all fifty United States, including Minnesota, and the European Union.

Therefore, Ethicon is subject to personal jurisdiction in the State of Minnesota.




PLAINTIFF’S ORIGINAL COMPLAINT                                                      PAGE 2 OF 16
            CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 3 of 16




                                                       III.

                                        JURISDICTION & VENUE

           4.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1332(a)(1).

The amount in controversy exceeds $75,000.00.

           5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(1) and (2).

                                                        IV.

                               FACTS APPLICABLE TO ALL COUNTS

           6.      This case arises from the defective manufacturing by Defendants Torax and Ethicon

of a medical device known as the “LINX Reflux Management System” (“LINX”). LINX is a

titanium bead-and-wire ring surgically implanted around a patient’s lower esophageal sphincter

(LES) to augment the LES and prevent acid reflux. These devices can only be implanted surgically,

and they are used to treat gastroesophageal reflux disease (GERD) which is a disease

predominately suffered by the elderly.




                                                                                 1




1
    https://www.jnj.com/innovation/johnson-johnson-medical-innovations-reshaping-future-surgery


PLAINTIFF’S ORIGINAL COMPLAINT                                                                    PAGE 3 OF 16
            CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 4 of 16




           7.       The LINX required pre-market approval by the Food & Drug Administration prior

to it being placed in the stream of commerce and used on patients in the United States and the

European Union. Specifically, in December 2010, Defendant Torax applied for this pre-market

approval, including its manufacturing process, and this approval was granted on March 22, 2012.

The LINX is considered a “restricted” device, meaning it is subject to numerous FDA regulations

regarding the manufacture, distribution, and marketing of the device.

           8.       Defendant Ethicon, Inc. (Ethicon) is the parent-corporation for Defendant Torax

and participated in the manufacture, distribution, and post-market surveillance of the LINX.

           9.       On May 31, 2018, Defendant Torax initiated a recall of numerous LINX due to “an

out of specification condition” which would allow “a bead component to separate from an adjacent

wire link.” 2 This means that the LINX device, normally a continuous loop, would become

discontinuous and open due a defect resulting from improper manufacture.




This recall, classified as a Class 2 recall, is considered by the FDA as “a method of

removing…products that are in violation of laws” administered by the FDA. FDA records show

that there were 9,131 LINX devices in the stream of commerce as of May 2018.




2
    See Exhibit “A” – Notice of Recall


PLAINTIFF’S ORIGINAL COMPLAINT                                                        PAGE 4 OF 16
         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 5 of 16




       10.     A 15-bead LINX was surgically implanted in Plaintiff on October 16, 2017. This

LINX was subject to the recall described in ¶ 6.

       11.     Plaintiff the defective LINX was removed on June 25, 2021.

       12.     Plaintiff alleges that Defendants Torax and Ethicon manufactured the LINX which

was implanted in Plaintiff and subsequently failed due to a manufacturing defect. Plaintiff alleges

that Defendants Torax and Ethicon placed Plaintiff’s LINX device into the stream of commerce.

Plaintiff alleges that Defendants Torax and Ethicon are corporations who regularly design, test,

assembly, manufacture, sell, and distribute medical devices intended for human use.


                                                V.

                                     CAUSES OF ACTION

       A.      Manufacturing Defect As to Defendant Torax – Strict Liability

       13.     Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from, in strict liability for product defect, from Defendant Torax for the

defective manufacture of the LINX device surgically-implanted in Plaintiff.

       14.     Specifically, the LINX implanted in Plaintiff was manufactured in violation of the

Federal Food, Drug, and Cosmetic Act, the Medical Device Amendments, and federal regulations

promulgated under these laws and administered by the FDA. The device implanted in Plaintiff was

manufactured in deviation from the manufacturing specifications approved by the FDA and

provided by Defendant Torax for its pre-market approval. Plaintiff’s LINX was also manufactured

in deviation of Current Good Manufacturing Practice requirements. The LINX was also

defectively manufactured in violation of Minnesota law that parallels federal requirements.




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 5 OF 16
            CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 6 of 16




       15.      Specifically, Defendant Torax was required to manufacture the defective LINX

device according to Federal Regulations, including but not limited to the following, and failed to

do so in:

        21 CFR 820.5 – failure to establish and adhere to a quality system to prevent the

             manufacture of defective LINX;

        21 CFR 820.20 – failure to adhere to approved quality system procedures;

        21 CFR 820.70(a),(g), (h), (i) – failure to control production processes to ensure device

             conformance with specifications;

        21 CFR 820.72 – failure to inspect, measure, and test manufacturing equipment and

             materials such that the LINX was defectively manufactured;

        21 CFR 820.75 – failure to adhere to process validation and implement process

             validation such that the LINX was placed in the stream of commerce in a defective

             condition;

        21 CFR 820.90 – failure to prevent non-conforming product, e.g. Plaintiff’s LINX,

             from entering the stream of commerce in a defective condition;

        21 CFR 820.100 – failure to implement corrective processes and preventative actions

             due to nonconformities.

       16.      As a result of Defendant Torax’s violations of federal regulation, approved-

manufacturing process, and manufacturing standard of care, Plaintiff’s LINX was defectively

manufactured and failed as a result of that defect. At the time the LINX device left the control of

Defendant Torax, it was outside of manufacturing specification and was unreasonably dangerous

due to its defective manufacture.




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 6 OF 16
         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 7 of 16




       17.      Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

   B. Manufacturing Defect As to Defendant Torax – Negligence

       18.      Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from Defendant Torax for the defective manufacture of the LINX device

surgically-implanted in Plaintiff.

       19.      Specifically, Defendant Torax owed Plaintiff a duty of ordinary care as would a

reasonable and prudent manufacturer of medical devices to manufacture the LINX such that it

would be safe for its intended use. Plaintiff alleges that Defendant Torax failed to use ordinary

care by various acts and omissions, which constitute negligence, in at least the following ways:

        Failure to manufacture the LINX consistent with approved manufacturing standards

             such that it was defective and unreasonably dangerous for its intended use;

        Failure to manufacture the LINX consistent with approved design such that it was

             defective and unreasonably dangerous for its intended use;

        Failure to test and inspect the device prior to placing it in the stream of commerce in a

             defective and unreasonably dangerous condition; and

        Failure to prevent the defectively manufactured device from entering the stream of

             commerce in a defective and unreasonably dangerous condition.

       20.      As a result of Defendant Torax’s breach of its duty of care, Plaintiff’s LINX was

defectively manufactured and failed as a result of that defect. At the time the LINX device left the

control of Defendant Torax, it was outside of manufacturing specification and was unreasonably

dangerous due to its defective manufacture.




PLAINTIFF’S ORIGINAL COMPLAINT                                                        PAGE 7 OF 16
            CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 8 of 16




       21.      Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

       C.       Manufacturing Defect As to Defendant Torax – Negligence Per Se

       22.      Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from, in negligence per se, from Defendant Torax for the defective manufacture

of the LINX device surgically-implanted in Plaintiff.

       23.      Specifically, the LINX implanted in Plaintiff was manufactured in violation of the

Federal Food, Drug, and Cosmetic Act, the Medical Device Amendments, and federal regulations

promulgated under these laws and administered by the FDA. The device implanted in Plaintiff was

manufactured in deviation from the manufacturing specifications approved by the FDA and

provided by Defendant Torax for its pre-market approval. Plaintiff’s LINX was also manufactured

in deviation of Current Good Manufacturing Practice requirements. The LINX was also

defectively manufactured in violation of Minnesota law that parallels federal requirements.

       24.      Specifically, Defendant Torax was required to manufacture the defective LINX

device according to Federal Regulations, including but not limited to the following, and failed to

do so in:

        21 CFR 820.5 – failure to establish and adhere to a quality system to prevent the

             manufacture of defective LINX;

        21 CFR 820.20 – failure to adhere to approved quality system procedures;

        21 CFR 820.70(a),(g), (h), (i) – failure to control production processes to ensure device

             conformance with specifications;




PLAINTIFF’S ORIGINAL COMPLAINT                                                      PAGE 8 OF 16
         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 9 of 16




        21 CFR 820.72 – failure to inspect, measure, and test manufacturing equipment and

             materials such that the LINX was defectively manufactured;

        21 CFR 820.75 – failure to adhere to process validation and implement process

             validation such that the LINX was placed in the stream of commerce in a defective

             condition;

        21 CFR 820.90 – failure to prevent non-conforming product, e.g. Plaintiff’s LINX,

             from entering the stream of commerce in a defective condition;

        21 CFR 820.100 – failure to implement corrective processes and preventative actions

             due to nonconformities.

       25.      These violations constitute negligence per se.

       26.      As a result of Defendant Torax’s violations of federal regulation, approved-

manufacturing process, and manufacturing standard of care, Plaintiff’s LINX was defectively

manufactured and failed as a result of that defect. At the time the LINX device left the control of

Defendant Torax, it was outside of manufacturing specification and was unreasonably dangerous

due to its defective manufacture.

       27.      Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

   D. Manufacturing Defect As to Defendant Ethicon – Strict Liability

       28.      Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from, in strict liability for product defect, from Defendant Ethicon for the

defective manufacture of the LINX device surgically-implanted in Plaintiff.




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 9 OF 16
        CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 10 of 16




       29.      Specifically, the LINX implanted in Plaintiff was manufactured in violation of the

Federal Food, Drug, and Cosmetic Act, the Medical Device Amendments, and federal regulations

promulgated under these laws and administered by the FDA. The device implanted in Plaintiff was

manufactured in deviation from the manufacturing specifications approved by the FDA. Plaintiff’s

LINX was also manufactured in deviation of Current Good Manufacturing Practice requirements.

The LINX was also defectively manufactured in violation of Minnesota law that parallels federal

requirements.

       30.      Specifically, Defendant Ethicon was required to manufacture the defective LINX

device according to Federal Regulations, including but not limited to the following, and failed to

do so in:

        21 CFR 820.5 – failure to establish and adhere to a quality system to prevent the

             manufacture of defective LINX;

        21 CFR 820.20 – failure to adhere to approved quality system procedures;

        21 CFR 820.70(a),(g), (h), (i) – failure to control production processes to ensure device

             conformance with specifications;

        21 CFR 820.72 – failure to inspect, measure, and test manufacturing equipment and

             materials such that the LINX was defectively manufactured;

        21 CFR 820.75 – failure to adhere to process validation and implement process

             validation such that the LINX was placed in the stream of commerce in a defective

             condition;

        21 CFR 820.90 – failure to prevent non-conforming product, e.g. Plaintiff’s LINX,

             from entering the stream of commerce in a defective condition;




PLAINTIFF’S ORIGINAL COMPLAINT                                                     PAGE 10 OF 16
        CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 11 of 16




        21 CFR 820.100 – failure to implement corrective processes and preventative actions

             due to nonconformities.

       31.      As a result of Defendant Ethicon’s violations of federal regulation, approved-

manufacturing process, and manufacturing standard of care, Plaintiff’s LINX was defectively

manufactured and failed as a result of that defect. At the time the LINX device left the control of

Defendant Ethicon, it was outside of manufacturing specification and was unreasonably dangerous

due to its defective manufacture.

       32.      Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

       E.       Manufacturing Defect As to Defendant Ethicon – Negligence

       33.      Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from Defendant Ethicon for the defective manufacture of the LINX device

surgically-implanted in Plaintiff.

       34.      Specifically, Defendant Ethicon owed Plaintiff a duty of ordinary care as would a

reasonable and prudent manufacturer of medical devices to manufacture the LINX such that it

would be safe for its intended use. Plaintiff alleges that Defendant Ethicon failed to use ordinary

care by various acts and omissions, which constitute negligence, in at least the following ways:

        Failure to manufacture the LINX consistent with approved manufacturing standards

             such that it was defective and unreasonably dangerous for its intended use;

        Failure to manufacture the LINX consistent with approved design such that it was

             defective and unreasonably dangerous for its intended use;




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 11 OF 16
        CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 12 of 16




        Failure to test and inspect the device prior to placing it in the stream of commerce in a

             defective and unreasonably dangerous condition; and

        Failure to prevent the defectively manufactured device from entering the stream of

             commerce in a defective and unreasonably dangerous condition.

       35.      As a result of Defendant Ethicon’s breach of its duty of care, Plaintiff’s LINX was

defectively manufactured and failed as a result of that defect. At the time the LINX device left the

control of Defendant Ethicon, it was outside of manufacturing specification and was unreasonably

dangerous due to its defective manufacture.

       36.      Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

       F.       Manufacturing Defect As to Defendant Ethicon – Negligence Per Se

       37.      Plaintiff incorporates the above paragraphs and would show the Court that she is

entitled to recover from, in negligence per se, from Defendant Ethicon for the defective

manufacture of the LINX device surgically-implanted in Plaintiff.

       38.      Specifically, the LINX implanted in Plaintiff was manufactured in violation of the

Federal Food, Drug, and Cosmetic Act, the Medical Device Amendments, and federal regulations

promulgated under these laws and administered by the FDA. The device implanted in Plaintiff was

manufactured in deviation from the manufacturing specifications approved by the FDA. Plaintiff’s

LINX was also manufactured in deviation of Current Good Manufacturing Practice requirements.

The LINX was also defectively manufactured in violation of Minnesota law that parallels federal

requirements.




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 12 OF 16
        CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 13 of 16




       39.      Specifically, Defendant Ethicon was required to manufacture the defective LINX

device according to Federal Regulations, including but not limited to the following, and failed to

do so in:

        21 CFR 820.5 – failure to establish and adhere to a quality system to prevent the

             manufacture of defective LINX;

        21 CFR 820.20 – failure to adhere to approved quality system procedures;

        21 CFR 820.70(a),(g), (h), (i) – failure to control production processes to ensure device

             conformance with specifications;

        21 CFR 820.72 – failure to inspect, measure, and test manufacturing equipment and

             materials such that the LINX was defectively manufactured;

        21 CFR 820.75 – failure to adhere to process validation and implement process

             validation such that the LINX was placed in the stream of commerce in a defective

             condition;

        21 CFR 820.90 – failure to prevent non-conforming product, e.g. Plaintiff’s LINX,

             from entering the stream of commerce in a defective condition;

        21 CFR 820.100 – failure to implement corrective processes and preventative actions

             due to nonconformities.

       40.      These violations constitute negligence per se.

       41.      As a result of Defendant Ethicon’s violations of federal regulation, approved-

manufacturing process, and manufacturing standard of care, Plaintiff’s LINX was defectively

manufactured and failed as a result of that defect. At the time the LINX device left the control of

Defendant Ethicon, it was outside of manufacturing specification and was unreasonably dangerous

due to its defective manufacture.




PLAINTIFF’S ORIGINAL COMPLAINT                                                      PAGE 13 OF 16
        CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 14 of 16




       42.    Each of the foregoing violations, whether taken singularly or in any combination,

were a proximate cause of Plaintiff’s injuries and damages which are described in more detail

above and below. Plaintiff seeks compensatory damages, jointly and severally.

                                               VI.

                                          DAMAGES

       43.    Plaintiff suffered, as a proximate and direct result of the wrongful actions and/or

omissions of the Defendants in this matter, each of the following damages:

       A.     Reasonable medical care and expenses in the past. These expenses were incurred

              by the Plaintiff for the necessary care and treatment of the injuries resulting from

              the manufacturing defect alleged and such charges are reasonable and were usual

              and customary charges for such services;

       B.     Reasonable and necessary medical care and expenses which will in all reasonable

              probability be incurred in the future;

       C.     Physical pain and suffering in the past;

       D.     Physical pain and suffering which will in all reasonable probability be suffered in

              the future;

       E.     Mental anguish sustained in the past;

       F.     Mental anguish that, in reasonable probability, Plaintiff will sustain in the future;

       G.     Physical impairment in the past;

       H.     Physical impairment which, in all reasonable probability, will be suffered in the

              future;

       I.     Disfigurement; and

       J.     Costs of Court.




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 14 OF 16
         CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 15 of 16




                                                   VI.

                                  REQUEST FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff makes his demand for trial by jury

on all issues so triable.

                                                  VII.

                                               PRAYER

        Plaintiff request that the Court award her the following relief against the Defendants above

as may be appropriate:

        (1)     A Judgment awarding actual, compensatory, damages in excess of 75,000.00;

        (2)     Costs of court;

        (3)     Pre- and post-judgment interest at the highest legal rate allowed by law from the
                earliest time allowed by law; and

        (4)     All other relief to which Plaintiff is justly entitled.


                                                         Respectfully submitted,

                                                         MESHBESHER & SPENCE

Dated: November 1, 2021
                                                         ___/s/ Ashleigh Raso____________
                                                         ASHLEIGH RASO
                                                         State Bar Minnesota No. 0393353
                                                         1616 Park Avenue
                                                         Minneapolis, Minnesota 55404
                                                         Telephone:    (612) 339-9121
                                                         E-Mail: araso@meshbesher.com




PLAINTIFF’S ORIGINAL COMPLAINT                                                       PAGE 15 OF 16
      CASE 0:21-cv-02410-DSD-ECW Doc. 1 Filed 11/01/21 Page 16 of 16




                                       SAWICKI LAW


                                       MICHAEL G. SAWICKI
                                       Texas State Bar No. 17692500
                                       ANDREW A. JONES
                                       Texas State Bar No. 24077910
                                       6116 N. Central Expressway, Ste. 1400
                                       Dallas, Texas 75206
                                       Telephone:    (214) 468-8844
                                       Fax:          (214) 468-8845
                                       E-Mail: msawicki@sawickilawfirm.com
                                       E-Mail: ajones@sawickilawfirm.com

                                       ATTORNEYS FOR PLAINTIFF
                                       Pro Hac Vice Motions Pending




PLAINTIFF’S ORIGINAL COMPLAINT                                    PAGE 16 OF 16
